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      CHRISTOPHER M. MCDERMOTT (SBN 253411)
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  6

  7   Attorneys for Secured Creditor:
      Bank of America, N.A.
  8

  9                             UNITED STATES BANKRUPTCY COURT

 10              CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 11
       In re                                             Case No. 2:16-bk-17571-BR
 12
       ALVARO A. BAUTISTA,                               Chapter 11
 13
       Debtor and Debtor in Possession.                  BANK OF AMERICA, N.A.’S MOTION
 14                                                      FOR APPROVAL OF STIPULATION
                                                         RE CASH COLLATERAL
 15
                                                         Subject Property
 16                                                      8818-8818 1/2 S Compton Avenue
                                                         Los Angeles, California 90002
 17
                                                         Hearing Date:
 18                                                      Date:    January 18, 2017
                                                         Time:    10:00 a.m.
 19                                                      Rm:      1668
                                                                   255 E. Temple Street
 20                                                                Los Angeles, CA 90012
                                                         Judge:    Hon. Barry Russell.
 21

 22
                                                 I. INTRO
 23
               Secured Creditor, Bank of America, N.A. (“Movant”), pursuant to Rules 4001(d)(1)(A)(iv)
 24
      and (d)(2) of the Federal Rules of Bankruptcy Procedure, will and hereby submits its Motion
 25
      (“Motion”) for an Order Approving the Stipulation Re Cash Collateral (the “Stipulation”), attached
 26
      hereto as Exhibit D, entered into by and between the above-captioned Debtor, Alvaro L. Bautista
 27
      (“Debtor”) and Movant by and through its counsel of record (collectively, the “Parties”), with
 28
      respect to the real property located at 8818-8818 1/2 S Compton Avenue, Los Angeles, California

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      90002 (“Subject Property”).

  2                                   II. STATEMENT OF FACTS
      A.     LOAN HISTORY
  3

  4          On or about December 24, 2007, Debtor and Maria Teresa Lua (“Co-Borrower”) executed a

  5 promissory note in the principal sum of $444,000.00 (the “Note”), which was made payable to Bank

  6 of America, N.A. (“Lender”). A copy of the Note is attached hereto as Exhibit A and incorporated

  7
      herein by this reference.
  8
             The Note is secured by a deed of trust (the “Deed of Trust”) and assignment of rents
  9
      encumbering the Subject Property. The Deed of Trust was duly recorded on December 31, 2007, in
 10

 11 the Official Records of Los Angeles County, State of California. A copy of the Deed of Trust is

 12 attached hereto as Exhibit B and incorporated herein by this reference.

 13          On or about February 3, 2015, Debtor entered into a Loan Modification Agreement (“Loan
 14
      Modification”) whereby certain obligations under the Note and Deed of Trust were modified. A
 15
      copy of the Loan Modification is attached hereto as Exhibit C and incorporated herein by this
 16
      reference. The Note, Deed of Trust and Loan Modification may be referred to collectively herein as
 17

 18 the “Loan.”

 19 B.       THE BANKRUPTCY FILINGS
 20          On June 7, 2016, Debtor filed the instant bankruptcy petition under Chapter 11 of the
 21
      Bankruptcy Code in the U.S. Bankruptcy Court for the Central District of California – Los Angeles
 22
      Division, and was assigned Case No. 2:16-bk-17571-BR.
 23
             Creditor filed a Proof of Claim against the Debtor’s Bankruptcy Estate in the amount of
 24

 25 $214,080.86, secured by the Subject Property, with $9,201.82 in pre-petition arrears. A copy of

 26 Creditor’s Proof of Claim may be found with this Court’s Claims Register as Claim No.4.

 27
             The Debtor is continuing in possession of his properties, and operating and managing his
 28
      rental income property business, as debtor-in-possession pursuant to Bankruptcy Code §§1107 and
                                                   2
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      1108. No chapter 11 Trustee or examiner or creditors’ committee has been appointed.

  2           On or about December 1, 2016, Debtor and Movant executed and filed the Stipulation with

  3 the Court. See, Docket Number 44. A copy of the filed Stipulation (without exhibits) is attached

  4 hereto as Exhibit D and incorporated herein by this reference.

  5                                          III. ARGUMENT

  6
      A.      THE PARTIES ARE IN AGREEMENT WITH RESPECT TO THE USE OF
  7           CREDITOR’S CASH COLLATERAL
  8        1. Legal Standard.

  9           Pursuant to Rule 4001(d)(1)(A)(iv) of the Federal Rules of Bankruptcy Procedure, a party

 10 may file a motion seeking approval of an agreement regarding the use of Cash Collateral. Fed. R.

 11 Bankr. P. 4001(d)(1)(A)(iv). A motion brought pursuant to Rule 4001(d) must contain “a concise

 12 statement of the relief requested…that lists or summarizes, and sets out the location within the

 13 relevant documents of, all material provisions of the agreement.” Fed. R. Bankr. P. 4001(d)(1)(B).

 14 Rule 4001(d) operates to protect the interest of the creditor who may be adversely affected by an

 15 undisclosed agreement by requiring notice to parties who may have an interest in, or be affected by,

 16 such an agreement. In re Manchester Ctr., 123 B.R. 378, 381 (Bankr. C.D. Cal. 1991)(citation

 17 omitted).

 18        2. Relief Requested.

 19           By this Motion, Movant seeks the Court’s approval of the Stipulation.

 20        3. Material Provisions.

 21           The Stipulation contains the following material provisions:

 22              •   Payments: Debtor has agreed to pay Movant the amount of $1,175.09 per month as

 23                  adequate protection (“AP Payment”) for Debtor’s use of the Cash Collateral as

 24                  specified herein. The AP Payment shall commence immediately upon executing the

 25                  Stipulation and shall continue on the first day of each month thereafter until the

 26                  Debtor’s Chapter 11 Plan is confirmed, or the parties enter into a subsequent

 27                  stipulation concerning the treatment of Creditor’s claim, which ever occurs first. In

 28                  addition, Debtor acknowledges the AP Payment may be subject to change per the

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                  Loan, and Movant will seek to provide Debtor’s counsel with notice regarding any

  2               change changes (see Stipulation, ¶ 5);

  3           •   Expenses for Subject Property: Debtor agrees that from the Cash Collateral derived

  4               from the Subject Property, commencing upon execution of the Stipulation, and

  5               continuing on the first day of each month thereafter, Debtor shall reserve amounts for

  6               the expenses for the Subject Property listed in paragraph 4 of the Stipulation and

  7               timely pay said expenses when due (see Stipulation, ¶ 4);

  8           •   Property Taxes and Insurance: Debtor acknowledges the account is currently

  9               escrowed for property taxes and insurance and Debtor would like Movant to continue

 10               to make said property tax and insurance advances during Debtor’s Chapter 11 case.

 11               Debtor acknowledges the Movant’s payment of property taxes and insurance during

 12               the case provides a benefit to the Debtor’s estate. However, in the event Debtor fails,

 13               or is unable to make the monthly Escrow Payment for any reason, then without need

 14               of motion or order of the Court, Movant shall be entitled to an Administrative

 15               Priority Expense Claim per 11 U.S.C. §§503(b) and 507 in an amount equal to

 16               whatever the outstanding escrow shortage/advances are at the time of confirmation of

 17               Debtor’s Chapter 11 Plan. Movant’s counsel shall provide that escrow information

 18               to Debtor’s counsel as necessary. Further, Debtor agrees to provide for any of

 19               Movant’s Administrative Priority Expense Claim as discussed herein in his Chapter

 20               11 Plan and pay said Administrative Priority Expense Claim in full no later than the

 21               effective date of Debtor’s Chapter 11 Plan, or pursuant to a separate written

 22               agreement with Movant with respect to the treatment of Creditor’s claim in Debtor’s

 23               Chapter 11 Plan, (see Stipulation, ¶ 6);

 24           •   Default Remedies: If the Debtor fails to fully perform any provision, term or

 25               condition of the Stipulation in a timely manner, the Debtor shall be in default under

 26               the Stipulation. In the event Debtor is in default under the Stipulation, Movant shall

 27               provide written notice, via certified mail to Debtor’s attorneys of record indicating

 28               the nature of default. If Debtor fails to cure the default after passage of thirty (30)

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                  calendar days from the date said written notice is placed in the mail, Movant’s

  2               consent to Debtor’s use of Cash Collateral shall automatically terminate without

  3               further notice, order or proceeding of the Court. Upon any such default, the Debtor

  4               shall thereafter immediately sequester and account for all Cash Collateral produced

  5               by and/or derived from the Subject Property. If Debtor fails to cure the default

  6               within the 30 day period described above, then Movant may file and serve a

  7               declaration under penalty of perjury specifying the default, together with a proposed

  8               order Terminating the Automatic Stay for cause, which the Court may grant without

  9               further notice or hearing. In the event that Movant is granted relief from the

 10               automatic stay, the parties hereby stipulate that the 14-day stay provided by

 11               Bankruptcy Rule 4001(a)(3) is waived. Further, in the event the Debtor defaults

 12               under the Stipulation and Movant forwards a default letter to Debtor, Debtor shall be

 13               required to tender $200.00 for each default letter submitted, in addition to the default

 14               amount stated therein, in order to cure the default. Any notice of default that Movant

 15               provides Debtor pursuant to the Stipulation shall not be construed as a

 16               communication under the Fair Debt Collection Practices Act, 15 U.S.C. §1692 (see

 17               Stipulation, ¶ 10);

 18           •   Variance. No payment of any expense set forth in paragraph 4 of the Stipulation

 19               shall exceed the budgeted line item for said expenses by more than fifteen percent

 20               (15%) without the prior written consent of the Movant. Notwithstanding the

 21               foregoing, Debtor shall be entitled to use up to $500.00 of the net rents for urgent

 22               repairs and/or maintenance of the Subject Property without further Court order, (see

 23               Stipulation, ¶ 7);

 24           •   Segregated Account; Use Limitation; Operating Reports. Debtor will open and

 25               deposit all Cash Collateral from the Subject Property into a segregated Cash

 26               Collateral account (the “Deposited Funds”). The Segregated Account shall be

 27               maintained in accordance with 11 U.S.C. § 363(c)(4). The Deposited Funds will not

 28               be available for use by the Debtor for personal expenses or any other property of the

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                     Debtor’s estate, and only as outlined in the Stipulation. Debtor agrees to remain

  2                  current on his monthly operating reports (“MOR”) as required per Local Bankruptcy

  3                  Rule 2015-1, (see Stipulation, ¶ 8);

  4              •   No Waiver. Nothing contained in the Stipulation or order thereon shall be deemed or

  5                  construed to waive, reduce, or otherwise diminish the rights and claims of the

  6                  Movant against the Debtor, or of any rights, claims or defenses of the Debtor against

  7                  the Movant. Movant expressly reserves its right to bring a Motion for Relief from

  8                  Stay on any grounds, oppose any valuation concerning the Subject Property, object

  9                  to Debtor’s Disclosure Statement or Chapter 11 Plan of Reorganization, and bring a

 10                  Motion to Dismiss or Convert Debtor’s case. Further, by executing the Stipulation

 11                  Movant is not agreeing with Debtor’s proposed valuation of the Subject Property in

 12                  any way, or any proposed interest rate for Debtor’s Chapter 11 Plan.              The

 13                  acceptance by Movant of a late or partial payment hereunder shall not act as a waiver

 14                  of Movant’s right to proceed hereunder, (see Stipulation, ¶ 9); and

 15              •   Term. The Debtor’s authority to use Cash Collateral shall terminate (“Termination

 16                  Event”) on the earlier of: (i) the effective date of any confirmed Chapter 11 plan of

 17                  reorganization: (ii) dismissal of this case; (iii) the Debtor’s default with respect to

 18                  any term, provision or condition of the Stipulation executed by the parties; (iv) if

 19                  Movant obtains relief from stay with respect to the Subject Property for whatever

 20                  reason; (v) conversion of this case to one under Chapter 7 of the Bankruptcy Code;

 21                  (vi) appointment of a Chapter 11 Trustee; or (vii) foreclosure of the Subject Property,

 22                  (see Stipulation, ¶ 3).

 23          In short, the Stipulation requires Debtor to make adequate protection payments in accordance

 24 with the terms of the Loan, provide for and pay monthly operating expenses for the Subject Property

 25 when due, including property taxes and insurance and maintain a segregated DIP account for the

 26 Subject Property. Except as stated herein, the Stipulation does not contain any of provisions of the

 27 type listed in subsection (c)(1)(B) of Rule 4001. Since the Stipulation affects only the rights of

 28 Movant and Debtor, and does not modify any of Debtor’s preexisting obligations under the Loan, it

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      should be approved.

  2                                       VI.    CONCLUSION

  3          For the reasons set forth herein, Movant requests an order approving the Stipulation.

  4          WHEREFORE, Movant respectfully prays for:

  5          1.     An order granting this Motion and approving the Stipulation; and

  6          2.     Such other and further relief as the Court deems just and proper.

  7                                               Respectfully submitted,

  8
                                                  ALDRDIGE PITE, LLP
  9
      Dated: December 2, 2016                     /s/ Todd S. Garan (CA SBN 236878)_______
 10                                               Todd S. Garan
                                                  Attorney for Movant/Secured Creditor
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                        Doc 45
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                             4 Filed
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 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 45
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                             4 Filed
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Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 45
                             44
                             4 Filed
                                Filed10/26/16
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                        Main Document58 Page 3335 of 57
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Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 45
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                             4 Filed
                                Filed10/26/16
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                        Main Document58 Page 3436 of 57
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 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 45
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                             4 Filed
                                Filed10/26/16
                                      12/01/16 Desc
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 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 45
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                                Filed10/26/16
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 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
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 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 45
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                                Filed10/26/16
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Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 45
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 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 45
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 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 45
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 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
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      2:16-bk-17571-BR Claim
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      2:16-bk-17571-BR Claim
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      2:16-bk-17571-BR Claim
                        Doc 45
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      2:16-bk-17571-BR Claim
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
4375 Jutland Drive/Suite 200/P.O. BOX 17933/San Diego, CA 92177

                                                                      Bank of America, N.A.'s Motion for Approval of
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 Stipulation Re Cash Collateral
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
12/02/2016          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  United States Trustee, ustpregion16.la.ecf@usdoj.gov
  United States Trustee (represented by): Ron Maroko, ron.maroko@usdoj.gov
  Attorney for Debtor: Thomas B Ure, tbuesq@aol.com

                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              12/02/2016        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
   Honorable Judge Barry Russell                                            DEBTOR
   Suite 1660, Courtroom 1668                                               Alvaro A. Bautista
   255 E. Temple Street                                                     10527 Saint James
   Los Angeles, CA 90012                                                     South Gate, CA 90280
                                                                                       ✔ Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

12/02/2016                      Esteban Garcia                                                 /s/ Esteban Garcia
 Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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VIA ELECTRONIC NOTICE:

OTHER PARTIES IN INTEREST

Merdaud Jafarnia, bknotice@mccarthyholthus.com

Cassandra J Richey, cmartin@pralc.com

Edward A Treder, cdcaecf@bdfgroup.com



VIA FIRST CLASS U.S. MAIL:

ATTORNEY FOR DEBTOR

Ure Law Firm
800 W 6th Street, Suite 5
Los Angeles, CA 90017

20 LARGEST CREDITORS

Bank of America
450 American St. #SV416
Simi Valley, CA 93065

Capitol One
PO BOX 30285
Salt Lake City, UT 84130

Citibank/The Home Depot
PO BOX 790040
Saint Louis, MO 63179

Franchise Tax Board
Special Procedures
PO BOX 2952
Sacramento, CA 95812

Nationstar Mortgage
PO BOX 650783
Dallas, TX 75265-0783

Sychrony Bank/Care Credit
PO BOX 103104
Roswell, GA 30076
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Target
Mailstop BT PO BOX 9475
Minneapolis, MN 55440


VIA CERTIFIED U.S. MAIL:
Bank of America, N.A.
James Dimon, CEO
1111 Polaris Parkway
Columbus, OH 43240

Capital One Bank, N.A.
Richard D. Fairbank, CEO
4851 Cox Road
Glen Allen, VA 23060

Nationstar Mortgage
Jay Bray, CEO
8950 Cypress Waters Boulevard
Coppell, TX 75019

Synchrony Bank
Margaret M. Keane, CEO
777 Long Ridge Road
Stamford, Connecticut 06902
